                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

  LEWIS COSBY, KENNETH R. MARTIN,                  )
  as beneficiary of the                            )
  Kenneth Ray Martin Roth IRA, and                 )
  MARTIN WEAKLEY on behalf of                      )
  themselves and all others similarly situated,    )
                                                   )
                Plaintiffs,                        )
                                                   )
  v.                                               )    No.:    3:16-CV-121-TAV
                                                   )
  KPMG, LLP,                                       )
                                                   )
                Defendant.                         )


                                            ORDER

         Before the Court is the parties’ joint motion to stay this civil action [Doc. 74]

  pending the Court’s ruling on defendant’s motion to dismiss [Doc. 63]. Pursuant to the

  statutory requirements of the Private Securities Litigation Reform Act, “all discovery and

  other proceedings shall be stayed during the pendency of any motion to dismiss.” 15

  U.S.C. § 78u-4(b)3. In light of this, and the parties’ agreement regarding a stay, the parties’

  motion [Doc. 74] is GRANTED and this action is STAYED pending the Court’s ruling

  on defendant’s motion to dismiss.

         IT IS SO ORDERED.


                                      s/ Thomas A. Varlan
                                      CHIEF UNITED STATES DISTRICT JUDGE




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